249 F.2d 314
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.LOCAL NO. 545, AMALGAMATED MEAT CUTTERS AND BUTCHER WORKMENOF NORTH AMERICA, AFL-CIO.
    No. 15844.
    United States Court of Appeals Eighth Circuit.
    Aug. 6, 1957.
    
      Stephen Leonard, Assoc.  Gen. Counsel, National Labor Relations Board, Washington, D.C., for petitioner.
      PER CURIAM.
    
    
      1
      Order of National Labor Relations Board Enforced, on petition for enforcement and stipulation filed with Board.
    
    